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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                             :
UNITED STATES OF AMERICA
                                             :

        v.                                   :    Criminal No. DKC 13-0492-001

                                             :
ANTHONY TORELL TATUM
                                             :

                            MEMORANDUM OPINION AND ORDER

        Pending before the court is a motion filed under Fed. R.

Civ. P. Rule 60(b)(3) filed by Defendant Anthony Tatum alleging

that the prosecutor’s conduct was so egregious that the court

should find “fraud of the Court, and vacate the plea and permit

Tatum    to    proceed      to    trial.”        For   the     reasons   that    follow,

Defendant’s motion will be denied.

        On    December      31,   2014,     Defendant        Tatum   pled    guilty     to

conspiracy to distribute and possess with intent to distribute 5

kilos    or    more    of    cocaine   and       100   grams    or   more   of   heroin,

possession of a firearm in furtherance of a drug trafficking

offense, and conspiracy to commit money laundering.                              He was

sentenced to 324 months imprisonment.                    Judgment was entered on

July 23, 2015, and he filed a notice of appeal on July 29.                             The

United States Court of Appeals affirmed the judgment of this

court on June 10, 2016 (ECF No. 355) and the mandate issued

November 3, 2016 (ECF No. 391).
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     On August 4, 2016, Defendant filed the instant motion based

on Fed.R.Civ.P. 60(b) requesting that his plea and subsequent

sentence   be    vacated    and    that   he    be    permitted       to   proceed           to

trial.     Fed.R.Crim.P. 11(e) recites “After the court imposes

sentence, the defendant may not withdraw a plea of guilty or

nolo contendere, and the plea may be set aside only on direct

appeal or collateral attack.”             Thus, Rule 60(b), which applies

to civil cases, is inapplicable.

     Accordingly, it is this 7th day of November, 2016, by the

United States District Court for the District of Maryland hereby

ORDERED that:

     1.    Defendant       Tatum’s    motion        filed   pursuant       to       Fed.     R.

Civ. P. 60(b)(3) BE, and the same hereby IS, DENIED;

     2.    The    clerk    IS     DIRECTED     to    mail   Mr.   Tatum         a    §   2255

application and instructions; and

     3.    The clerk is directed to transmit a copy of this Order

directly to Mr. Tatum and transmit to counsel.



                                      _         /s/                                      _
                                      DEBORAH K. CHASANOW
                                      United States District Judge




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